12-12020-mg   Doc 1592-5 Filed 09/26/12 Entered 09/26/12 17:19:54   Exhibit 4 to
                   Dec of Feder-Invoice MB00926 Pg 1 of 2




                              EXHIBIT 4
 International Business Machines
         12-12020-mg    Doc 1592-5Corporation
                                    Filed 09/26/12                                     Entered 09/26/12     17:19:54 InvoiceExhibit 4 to
  Please direct inquiries and correspondence to                        Customer Number             Invoice Number            date          Page
     IBM CORPORATION                                    Dec of Feder-Invoice
                                                                       3666342-T4  MB00926     Pg  2  of  2
                                                                                                      MB00926         05/30/2012            1
     ONE LINCOLN CENTRE
     OAK BROOK TER IL 60181
  Or call IBM at:       (877) 426-6006
  e-mail:            ASKAR@US.IBM.COM
Installed at


  GMAC MORTGAGE LLC                                            GMAC MORTGAGE LLC
  1100 VIRGINIA DR                                             1100 VIRGINIA DR
  FT WASHINGTON PA 19034-3204                                  FT WASHINGTON PA 19034-3204



Customer reference


  Signed by Dan Drees 12/21/2010
  Caseid#003687147 / SW Maintenance & Dev
Please remit payments to                                                                   Terms

                                                                                              PAYMENT DUE UPON RECEIPT OF
  P.O. BOX 643600                                                                             INVOICE - LATE PAYMENT FEE
  PITTSBURGH, PA 15264-3600                                                                   MAY APPLY

                                              INVOICE FOR SERVICES
  CONTRACT# CFTC09C
  WORK#             WQ09K

  Week Ending                         Employee                  Rate     Hours      Amount
  5/11/2012                      . ARCHANA BADAM               55.00      45     2,475.00
  5/11/2012                      . RAVIKIRAN GINNURI           55.00      45     2,475.00
  5/18/2012                      . ARCHANA BADAM               55.00      45     2,475.00
  5/18/2012                      . RAMESH KOTA                110.00      45     4,950.00
  5/18/2012                      . RAVIKIRAN GINNURI           55.00      45     2,475.00
  5/18/2012                        BD FEDER                   213.75      40     8,550.00
  5/18/2012                        H KAUR                     156.75      40     6,270.00
  5/18/2012                        JD BUCHANAN                166.25      40     6,650.00
  5/18/2012                        PP UNAWANE                 213.75      40     8,550.00
  5/18/2012                        R BERNABEI                 156.75      40     6,270.00
  5/18/2012                        R NELAPATLA                156.75      32     5,016.00
  5/18/2012                        S MADHWAL                  156.75      40     6,270.00
  5/18/2012                        T SURVE                    156.75      40     6,270.00
  5/18/2012                        TP PEREIRA                 110.00       1       110.00
  5/25/2012                      . ARCHANA BADAM               55.00      45     2,475.00
  5/25/2012                      . RAMESH KOTA                110.00      45     4,950.00
  5/25/2012                      . RAVIKIRAN GINNURI           55.00      36     1,980.00
  5/25/2012                        BD FEDER                   213.75      40     8,550.00
  5/25/2012                        H KAUR                     156.75      40     6,270.00
  5/25/2012                        JD BUCHANAN                166.25      40     6,650.00
  5/25/2012                        PP UNAWANE                 213.75      40     8,550.00
  5/25/2012                        R BERNABEI                 156.75      40     6,270.00
  5/25/2012                        R NELAPATLA                156.75      32     5,016.00
  5/25/2012                        S MADHWAL                  156.75      40     6,270.00
  5/25/2012                        T SURVE                    156.75      40     6,270.00
  5/25/2012                        TP PEREIRA                 110.00       1       110.00
                                                                    Total      132,167.00
                      LATE PAYMENT FEES MAY APPLY




  THIS IS ISSUED PURSUANT TO THE IBM CUSTOMER AGREEMENT OR THE EQUIVALENT AGREEMENT BETWEEN US.




  Original Invoice                                  PLEASE PAY THIS AMOUNT                                                 $132,167.00
